              Case 3:25-cv-05461-DGE            Document 224          Filed 07/15/25       Page 1 of 9




 1                                                       THE HONORABLE DAVID G. ESTUDILLO

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 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 9
10       PAUL D. ETIENNE, et al.,                              No. 3:25-cv-05461-DGE

11                             Plaintiffs,
                                                               STIPULATED MOTION TO STAY
12
               v.                                              PROCEEDINGS AND ENTER
13                                                             PRELIMINARY INJUNCTION AS TO
         ROBERT W. FERGUSON, in his official                   COUNTY PROSECUTOR
14       capacity as Governor of Washington, et al.,           DEFENDANTS

15                             Defendants.                     AND
16
                                                               ORDER
17
                                                               NOTING DATE: July 11, 2025
18

19

20            Plaintiffs Paul D. Etienne, Joseph J. Tyson, Thomas A. Daly, Frank R. Schuster, Eusebio
21   L. Elizondo, Gary F. Lazzeroni, Gary M. Zender, Robert Pearson, Lutakome Nsubuga, Jesús
22   Mariscal, and Michael Kelly (“Plaintiffs”) and Defendants Leesa Manion, Larry Haskell, Joseph
23   Brusic, Randy Flyckt, Curt Liedkie, Eric Eisinger, Robert Sealby, Mark Nichols, Tony Golik,
24   Dale Slack, Ryan Jurvakainen, James Mitchell, 1 Michael Golden, Shawn Sant, Mathew
25

26   1
      Pursuant to Federal Rule of Civil Procedure 25(d), James Mitchell, the acting Douglas County Prosecuting
     Attorney under RCW 36.16.115, is substituted in place of the Honorable Gordon Edgar, who retired as Douglas
27   County Prosecuting Attorney effective June 30, 2025.
     STIPULATED MOTION                                                             WILMER CUTLER PICKERING
28   (No. 3:25-cv-05461-DGE)                                                       HALE AND DORR LLP
                                                                                   2100 Pennsylvania Avenue NW
                                                                                   Washington, DC 20037
                                                                                   (202) 663-6000 (t)
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            Case 3:25-cv-05461-DGE            Document 224        Filed 07/15/25       Page 2 of 9




 1   Newberg, Kevin McRae, Norma Tillotson, Gregory Banks, James Kennedy, Chad Enright,

 2   Gregory Zempel, David Quesnel, Jonathan Meyer, Ty Albertson, Michael Dorcy, Albert Lin,

 3   Michael Rothman, Dolly Hunt, Mary Robnett, Amy Vira, Rich Weyrich, Adam Kick, Jason

 4   Cummings, Erika George, Jon Tunheim, Dan Bigelow, Gabe Acosta, Eric Richey, and Denis

 5   Tracy (the “Stipulating Defendants”) jointly move the Court, pursuant to Local Rule 7(d)(1), to

 6   stay all proceedings in this case with respect to the Stipulating Defendants pending a final

 7   judgment in this case, subject to the Stipulating Defendants’ agreement to be bound by the terms

 8   of this Stipulation and Proposed Order, including Exhibit A attached thereto.

 9          On May 29, 2025, Plaintiffs filed a Complaint (Dkt. 1) against the Stipulating Defendants
10   and others, including Robert W. Ferguson, in his official capacity as Governor of Washington
11   and Nicholas W. Brown, in his official capacity as Attorney General of Washington. The
12   Complaint alleges that Section 26.44.030(1)(a) of the Revised Code of Washington (RCW), as
13   amended by Senate Bill 5375, violates the First and Fourteenth Amendments to the U.S.
14   Constitution, as well as Article I, Section 11 of the Washington Constitution. None of the
15   defendants named in the lawsuit have yet answered or otherwise responded to the Complaint.
16          On June 5, 2025, Plaintiffs filed a Motion for Preliminary Injunction (“Motion”) against
17   all defendants (Dkt. 65) seeking to preliminarily enjoin them from enforcing or attempting to
18   enforce RCW § 26.44.030, as amended by Senate Bill 5375, as applied to information learned by
19   Roman Catholic priests solely through the Sacrament of Confession. Four defendants have filed
20   responses to the Motion. See Dkt. 131; Dkt. 172; Dkt. 175.
21          The Stipulating Defendants seek to avoid the cost and burdens of this litigation and have
22   agreed not to oppose, either during this litigation or on appeal, Plaintiffs’ requests for injunctive
23   relief against them. The Stipulating Defendants and Plaintiffs have further agreed that, to allow
24   for the Plaintiffs to pursue their claims against the remaining defendants, the Plaintiffs’ claims
25   against the Stipulating Defendants will be stayed in their entirety until the Court’s entry of a final
26   judgment in this lawsuit, thus precluding the Stipulating Defendants from (i) responding to the
27
     STIPULATED MOTION                                                   WILMER CUTLER PICKERING
28   (No. 3:25-cv-05461-DGE)                                             HALE AND DORR LLP
                                                                         2100 Pennsylvania Avenue NW
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 1   Complaint, (ii) participating in motions practice, and (iii) propounding (or being subject to)

 2   discovery. In exchange for Plaintiffs’ agreement to stay the lawsuit against them, the Stipulating

 3   Defendants stipulate to the Court’s entry of the Plaintiffs’ proposed preliminary injunction

 4   against them (Dkt. 65-1), pending the Court’s final judgment, including during the pendency of

 5   any potential interlocutory appeal. The Stipulating Defendants have further agreed to consent to

 6   the Court’s final judgment as to the remaining defendants and not to appeal any such judgment.

 7            In consideration of these mutual agreements, Plaintiffs have agreed not to seek attorneys’

 8   fees and/or costs from the Stipulating Defendants at the conclusion of this matter and regardless

 9   of the Court’s final judgment. The Stipulating Defendants have likewise agreed to waive any
10   claim for attorneys’ fees and/or costs from the Plaintiffs, regardless of the Court’s final
11   judgment.
12            IT IS SO STIPULATED by and between the Parties.
13                                             *       *       *
14   //
     //
15
              I certify that this memorandum contains 611 words, in compliance with the Local Civil
16
     Rules.
17
     DATED: July 11, 2025
18

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27
     STIPULATED MOTION                                                   WILMER CUTLER PICKERING
28   (No. 3:25-cv-05461-DGE)                                             HALE AND DORR LLP
                                                                         2100 Pennsylvania Avenue NW
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           Case 3:25-cv-05461-DGE          Document 224   Filed 07/15/25   Page 4 of 9




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                                                     Donna Farag (pro hac vice)
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 9   Rachel K. Stanley, WSBA #58280
     EVANS, CRAVEN & LACKIE, P.S.                    Hiram S. Sasser, III (pro hac vice
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11   Spokane, WA 99201-0910                          Jeremy Dys (pro hac vice forthcoming)
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14   Albertson, Adam Kick, Erika George, and         Fax: (972) 941-4457
15   Denis Tracy                                     hsasser@firstliberty.org
                                                     jdys@firstliberty.org
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23   Sealby, Mark Nichols, Ryan Jurvakainen,
     James Mitchell, Michael Golden, Shawn Sant,
24   Norma Tillotson, Gregory Banks, Gregory
     Zempel, David Quesnel, Jonathan Meyer,
25   Michael Dorcy, Albert Lin, Michael Rothman,
     Dolly Hunt, Mary Robnett, Amy Vira, Jason
26
     Cummings, Jon Tunheim, Dan Bigelow Gabe
27   Acosta, and Eric Richey
     STIPULATED MOTION                                           WILMER CUTLER PICKERING
28   (No. 3:25-cv-05461-DGE)                                     HALE AND DORR LLP
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 1                                                 ORDER

 2          PURSUANT TO THE FOREGOING STIPULATION, IT IS SO ORDERED.

 3          This matter is before the Court on the Stipulated Motion to Stay Proceedings and Enter
 4   Preliminary Injunction as to County Prosecutor Defendants (“Motion”) (Dkt. 65). Defendants
 5   Leesa Manion, Larry Haskell, Joseph Brusic, Randy Flyckt, Curt Liedkie, Eric Eisinger, Robert
 6   Sealby, Mark Nichols, Tony Golik, Dale Slack, Ryan Jurvakainen, James Mitchell, Michael
 7   Golden, Shawn Sant, Mathew Newberg, Kevin McRae, Norma Tillotson, Gregory Banks, James
 8   Kennedy, Chad Enright, Gregory Zempel, David Quesnel, Jonathan Meyer, Ty Albertson,
 9   Michael Dorcy, Albert Lin, Michael Rothman, Dolly Hunt, Mary Robnett, Amy Vira, Rich
10   Weyrich, Adam Kick, Jason Cummings, Erika George, Jon Tunheim, Dan Bigelow, Gabe
11   Acosta, Eric Richey, and Denis Tracy (the “Stipulating Defendants”) have agreed, in exchange
12   for Plaintiffs’ agreement to stay the lawsuit against them, to stipulate to the Court’s entry of the
13   Plaintiffs’ proposed preliminary injunction (Dkt. 65-1) pending the Court’s final judgment in this
14   case, including during the pendency of any potential interlocutory appeal. The Stipulating
15   Defendants have further agreed to consent to the Court’s final judgment against the remaining
16   defendants and not to appeal any such judgment. In consideration of these mutual agreements,
17   Plaintiffs have agreed not to seek attorneys’ fees and/or costs from the Stipulating Defendants at
18   the conclusion of this matter and regardless of the Court’s final judgment. The Stipulating
19   Defendants have likewise agreed to waive any claim for attorneys’ fees and/or costs from the
20   Plaintiffs, regardless of the Court’s final judgment.
21          Having reviewed the Motion, the docket and all related material, and good cause
22   appearing therefrom, the Court hereby ORDERS as follows:
23

24      1. The Stipulating Defendants are hereby subject to and bound by Exhibit A to this Order.

25      2. Plaintiffs’ action against the Stipulating Defendants shall be STAYED until the entry of a
            final judgment in this matter as to all other defendants. During the pendency of the stay,
26
     ORDER GRANTING                                                      WILMER CUTLER PICKERING
27   STIPULATED MOTION                                                   HALE AND DORR LLP
                                                                         2100 Pennsylvania Avenue NW
28   (No. 3:25-cv-05461-DGE)                                             Washington, DC 20037
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           Case 3:25-cv-05461-DGE           Document 224         Filed 07/15/25      Page 7 of 9




 1          the Stipulating Defendants’ deadline to respond to the Complaint and all other case

 2          deadlines applicable to the Stipulating Defendants shall be STRICKEN.
        3. The Stipulating Defendants will not appeal any interlocutory ruling in this matter,
 3
            including but not limited to the Court’s ruling on Plaintiffs’ Motion for Preliminary
 4
            Injunction (Dkt. 65).
 5
        4. The Stipulating Defendants will consent to the Court’s final judgment against the
 6          remaining defendants and will not appeal any such judgment.
 7      5. In consideration of these mutual agreements, Plaintiffs will not seek attorneys’ fees
 8          and/or costs from the Stipulating Defendants at the conclusion of this matter and

 9          regardless of the Court’s final judgment. The Stipulating Defendants likewise waive any
            claim for attorneys’ fees and/or costs from the Plaintiffs, regardless of the Court’s final
10
            judgment.
11

12
            IT IS SO ORDERED.
13
            DATED this 15th day of July, 2025
14

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                                                           A
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17
                                                           David G. Estudillo
18                                                         United States District Judge

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22   Presented by:
23   /s/ Siddharth Velamoor
     Siddharth Velamoor, WSBA #40965
24   WILMER CUTLER PICKERING HALE AND
         DORR LLP
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     ORDER GRANTING                                                     WILMER CUTLER PICKERING
27   STIPULATED MOTION                                                  HALE AND DORR LLP
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           Case 3:25-cv-05461-DGE        Document 224   Filed 07/15/25   Page 8 of 9




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26
     ORDER GRANTING                                          WILMER CUTLER PICKERING
27   STIPULATED MOTION                                       HALE AND DORR LLP
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 1                                             EXHIBIT A

 2          Pursuant to the Stipulated Motion of Plaintiffs Paul D. Etienne, Joseph J. Tyson, Thomas

 3   A. Daly, Frank R. Schuster, Eusebio L. Elizondo, Gary F. Lazzeroni, Gary M. Zender, Robert

 4   Pearson, Lutakome Nsubuga, Jesús Mariscal, and Michael Kelly (“Plaintiffs”) and Defendants

 5   Leesa Manion, Larry Haskell, Joseph Brusic, Randy Flyckt, Curt Liedkie, Eric Eisinger, Robert

 6   Sealby, Mark Nichols, Tony Golik, Dale Slack, Ryan Jurvakainen, James Mitchell, Michael

 7   Golden, Shawn Sant, Mathew Newberg, Kevin McRae, Norma Tillotson, Gregory Banks, James

 8   Kennedy, Chad Enright, Gregory Zempel, David Quesnel, Jonathan Meyer, Ty Albertson, Michael

 9   Dorcy, Albert Lin, Michael Rothman, Dolly Hunt, Mary Robnett, Amy Vira, Rich Weyrich, Adam

10   Kick, Jason Cummings, Erika George, Jon Tunheim, Dan Bigelow, Gabe Acosta, Eric Richey, and

11   Denis Tracy (the “Stipulating Defendants”), IT IS HEREBY ORDERED that the Stipulating

12   Defendants and their agents, servants, employees, and attorneys, and other persons who are in

13   active concert or participation with Stipulating Defendants, their agents, servants, employees, and

14   attorneys, are preliminarily enjoined, pursuant to Federal Rule of Civil Procedure 65(a), from

15   enforcing or attempting to enforce RCW § 26.44.030, as amended by Senate Bill 5375, as applied

16   to information learned by Roman Catholic priests solely through the Sacrament of Confession.

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     ORDER GRANTING                                                    WILMER CUTLER PICKERING
27   STIPULATED MOTION                                                 HALE AND DORR LLP
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